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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:21-cr-00030-JDB


Stephanie Hazelton
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                 (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Daryl J. Kipnis, Esq. - NJ SBN 023812006
                                                        (Attorney & Bar ID Number)
                                          Kipnis Law Offices
                                                                (Firm Name)
                                          280 Medford-Mt. Holly Rd.
                                                               (Street Address)

                                          Medford, NJ 08055
                                           (City)                (State)          (Zip)
                                          732-595-5298
                                                           (Telephone Number)
